                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                    5:05CV216-V
                                     5:03CR33-V



GLENDA MONIQUE MADDOX,              )
                                    )
            Petitioner,             )
                                    )
            v.                      )                          ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence, filed June 30, 2005.

       In her Motion to Vacate, Petitioner claims, among other things, that she asked her

counsel to file a direct appeal but that her counsel failed to file the requested appeal. An

attorney’s failure to file a notice of appeal, when requested by his client to do so, is per se

ineffective assistance of counsel. Prejudice to the defendant is presumed irrespective of the

merits of the appeal. Evitts v. Lucey, 469 U.S. 387, 391-405 (1985); United States v. Peak, 992

F.2d 39 (4th Cir. 1993). Accordingly, on a showing that counsel was requested to appeal but

failed to do so, the prescribed remedy is to vacate the original judgment and enter a new

judgment from which an appeal can be taken. Peak, 992 F.2d at 42.

        Regardless of how Respondent responds to Petitioner’s allegation, at a minimum a

factual dispute will exist over whether or not Petitioner requested her counsel to file a direct

appeal. Consequently, the Court will vacate the original judgment and direct the Clerk to enter a



     Case 5:03-cr-00033-KDB-DCK              Document 53        Filed 07/25/05      Page 1 of 4
new judgment from which an appeal can be taken.

       THEREFORE, IT IS HEREBY ORDERED that:

       1.     Petitioner’s Motion to Vacate is GRANTED in part and DENIED in part;

       2.     All of Petitioner’s claims except for her ineffective assistance of counsel claim
              based upon her attorney’s failure to file an appeal are DISMISSED WITHOUT
              PREJUDICE;

       3.     Petitioner’s criminal judgment is vacated due to her attorney’s failure to file a
              direct appeal;

       4.     The Clerk is directed to prepare a new criminal judgment with the same sentence
              and conditions;

       5.     The Clerk is directed to file a notice of appeal on Petitioner’s behalf.




                                                2


    Case 5:03-cr-00033-KDB-DCK            Document 53        Filed 07/25/05       Page 2 of 4
                                 3


Case 5:03-cr-00033-KDB-DCK   Document 53   Filed 07/25/05   Page 3 of 4
                        Signed: July 25, 2005




                                 4


Case 5:03-cr-00033-KDB-DCK   Document 53        Filed 07/25/05   Page 4 of 4
